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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


                                           MDL Docket No. 2800
In re: Equifax Inc. Customer               No. 1:17-md-2800-TWT
Data Security Breach Litigation
                                           CONSUMER ACTIONS

                                           Chief Judge Thomas W. Thrash, Jr.


       PLAINTIFFS’ MEMORANDUM IN SUPPORT OF THEIR
     MOTION TO DIRECT NOTICE OF PROPOSED SETTLEMENT

      After nearly two years of hard fought negotiations, the parties have reached

an historic settlement to resolve consumer claims arising out of the 2017 Equifax

data breach. The Settlement creates a non-reversionary fund of $380.5 million to

pay benefits to the class, including cash compensation, credit monitoring, and help

with identity restoration. If needed, Equifax will pay another $125 million for cash

compensation and potentially much more if the number of class members who sign

up for credit monitoring exceeds 7 million. Equifax also must spend a minimum of

$1 billion to improve its data security. The total cost to Equifax thus is at least

$1.38 billion and might be significantly more. The benefit to the class is even

greater. The retail cost of buying the same credit monitoring services for the entire

class alone would exceed $282 billion ($1,920 times 147 million class members).
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      The Settlement also has an innovative notice program, which takes

advantage of tools used in modern commercial and political advertising to

maximize engagement and participation, and an easy-to-use claims program. Both

programs were designed with input from the Federal Trade Commission, the

Consumer Financial Protection Bureau, and representatives of 50 Attorneys

General, who have entered into their own settlements with Equifax and agreed that

the fund in this case – as originally negotiated by Class Counsel and as

supplemented by relief the regulators obtained – will be the vehicle for all

consumer redress necessitated by the breach.

      The Settlement is fair, reasonable, and adequate and meets the requirements

of Rule 23(e).    Plaintiffs thus move for an order directing class notice and

scheduling a final approval hearing. In support of the motion, Plaintiffs submit the

Settlement Agreement (Ex. 1); a proposed order directing notice that has been

approved by Equifax (Ex. 2); and declarations from Class Counsel (Ex. 3), the

proposed Notice Provider (Signal Interactive Media LLC) (Ex. 4), the proposed

Settlement Administrator (JND Legal Administration) (Ex. 5), Mary Frantz, a

cybersecurity expert (Ex. 6), James Van Dyke, a credit monitoring expert (Ex. 7)

and Layn Phillips, the retired federal judge who mediated the settlement. (Ex. 8)




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                          FACTUAL BACKGROUND

      A.    Overview of the Litigation

      On September 7, 2017, Equifax – one of the country’s three major credit

reporting agencies – announced criminals had stolen from its computer networks

personal information pertaining to about 147 million Americans. More than 300

class actions filed against Equifax were consolidated and transferred to this Court,

which established separate tracks for the consumer and financial institution claims

and appointed separate legal teams to lead each track. (Ex. 3, ¶¶ 9-10)

      In the consumer track, on May 14, 2018, Plaintiffs filed a 559-page

consolidated amended complaint, which named 96 class representatives and

asserted common law and statutory claims under both state and federal law.

Equifax moved to dismiss the complaint in its entirety, arguing inter alia that

Georgia law does not impose a legal duty to safeguard personal information,

Plaintiffs’ alleged injuries were not legally cognizable, and no one could plausibly

prove an injury caused by this data breach as opposed to another breach. The

motion was exhaustively briefed during the summer and early fall of 2018 and, on

December 14, 2018, was orally argued. On January 28, 2019, the Court largely

denied the motion. Equifax answered on February 25, 2019. (Id., ¶¶ 11-14)

      While the motion was pending, the parties spent a great deal of time


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preparing the way for formal discovery and, beginning shortly after the answer was

filed, began producing extensive documents and electronic information. By the

end of March, 2019, Plaintiffs had reviewed in excess of 500,000 documents and

noticed depositions of Equifax and several key former employees. Aggressive

discovery efforts continued up until the case settled. (Id., ¶¶ 16-17)

      B.     Mediation and Settlement

      In late September, 2017, Equifax’s counsel contacted several lawyers who

had filed cases in this Court to discuss the possibility of an early settlement. Those

contacts led to the formation of a team made up of many of the nation’s most

experienced data breach lawyers that later applied for and was appointed by the

Court to lead the consumer track and serve as Interim Consumer Class Counsel

pursuant to Fed. R. Civ. P. 23(g). (Id., ¶ 18)

      The parties retained Layn Phillips, a former federal judge, to serve as

mediator. Judge Phillips is perhaps the country’s preeminent mediator in major

civil litigation and has successfully mediated several data breach cases, including

In re Anthem Customer Data Breach Security Litigation, the largest consumer data

breach settlement until this one. (Id., ¶ 19) After receiving detailed mediation

statements from each side setting out their views of the facts and law, Judge

Phillips convened the first mediation on November 27 and 28, 2017 in California.


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The session ended with the parties being far apart and little prospect of an early

settlement, but with a framework for a future dialog. (Ex. 8, ¶¶ 9-10)

      Following the Court’s appointment order, the parties renewed discussions,

both directly and with the assistance of Judge Phillips, in an attempt to resolve

such issues as the benefits that would be provided to class members, the size of a

settlement fund, and the extensive business practice changes needed to reduce the

risk of another data breach. In this process, Class Counsel were advised by leading

cybersecurity experts, consulted with consumer advocates, and benefitted from

significant informal discovery Equifax provided, including face-to-face meetings

with both side’s experts to discuss how the breach occurred and Equifax’s remedial

efforts. (Ex. 3, ¶¶ 22-23)

      During the course of 2018, Class Counsel collectively spent more than a

thousand hours preparing for and participating in settlement talks, struggling to

reach agreement with Equifax on a comprehensive term sheet. (Id., ¶ 21)

Mediation sessions on May 25, 2018, August 9, 2018, and November 16, 2018,

resulted only in incremental movement. According to Judge Phillips:

      [W]hile productive in some respects, these additional sessions were,
      like the first session, difficult and adversarial, and the session on
      November 16, 2018 ended with a substantial chasm remaining
      between the parties’ respective settlement positions.

(Ex. 8, ¶ 10) In late 2018, the parties informed Judge Phillips they were at impasse

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and settlement talks ceased. (Id., ¶ 11)

      In February, 2019, after this Court’s ruling on Equifax’s motion to dismiss,

the parties restarted negotiations. Judge Phillips convened what proved to be the

final mediation session in California on March 30, 2019. After getting consensus

on the non-monetary terms, the parties reached an impasse on the amount of the

settlement fund.    Late in the evening, Judge Phillips made a double-blind

“mediator’s proposal,” which both sides accepted, and the parties executed a

binding Term Sheet at about 11 p.m., subject to approval by Equifax’s board of

directors, which was received the following day. (Id., ¶ 12; Ex. 3, ¶¶ 27-31)

      In the March 30 Term Sheet, the parties committed to cooperate in drafting a

comprehensive agreement containing more detail and usual provisions; to present

any disputes to Judge Phillips for final determination; and to submit the agreement

to the Court for preliminary approval 90 days later. The parties also agreed to

allow Equifax to share the Term Sheet with federal and state regulators and to

consider in good faith – but without having to accept – any changes the regulators

proposed. (Ex. 3, ¶ 32) This provision is consistent with guidance provided by the

Federal Judicial Center regarding solicitation of the views of federal and state

regulators regarding class action settlements.      See Federal Judicial Center,

Managing Class Action Litigation: A Pocket Guide for Judges (2010) at 26-27.


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      The regulators proposed several changes to the substantive terms of the

Term Sheet. A few were relatively minor (making clear that consumers could

recover for time in 15 minute intervals and increasing the dollar amount of one

benefit) while others provided additional relief ($70.5 million for the fund that

included money another year of 3-bureau monitoring and, if needed, $125 million

more to pay excess out-of-pocket claims; 6 years of 1-bureau monitoring through

Equifax; and expansion of the Extended Claims Period). Plaintiffs accepted all

those proposals.    However, Plaintiffs opposed other proposed changes Class

Counsel believed would be the subject of criticism and, in certain instances, might

lessen the class benefits in the Term Sheet they had negotiated. (Ex. 3, ¶ 33)

      The provisions Plaintiffs opposed triggered a new round of difficult

negotiations with Equifax that lasted over two months and delayed submitting an

agreement to the Court. Several weeks ago, after the issues were satisfactorily

resolved, Plaintiffs focused on working with Equifax and the regulators to refine

the notice and claims programs. After numerous conferences with Equifax and the

regulators, and an “all hands” meeting in Washington D.C. on July 16, the parties

were finally able to execute the Settlement Agreement. (Id., ¶ 34)

      C.     The Terms of the Proposed Settlement

      The following are the material terms of the Settlement:


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             1.     The Settlement Class

      The proposed Settlement Class is defined as follows:

      The approximately 147 million U.S. consumers identified by Equifax
      whose personal information was compromised as a result of the
      cyberattack and data breach announced by Equifax Inc. on September
      7, 2017.

Excluded are Equifax, its affiliated entities and individuals, the Court and its staff,

their immediate families, and anyone who validly opts out. (Ex. 1 at 7)

             2.     The Settlement Fund

      Equifax initially will pay $380.5 million into the fund for class benefits,

fees, expenses, service awards, and notice and administration costs; up to an

additional $125 million if needed to satisfy excessive claims for Out-of-Pocket

losses; and potentially $2 billion more if all 147 million class members were to

sign up for credit monitoring (at a rate of about $16.4 million per million enrollees

over 7 million). (Ex. 3, ¶ 37) No proceeds will revert to Equifax. (Ex. 1 at 15) The

specific benefits available to class members include:

           Compensation of up to 20 hours at $25 per hour for time spent taking
            preventative measures or dealing with identity theft. Ten hours can be
            self-certified, requiring no documentation.

           Reimbursement of up to $20,000 for documented losses fairly
            traceable to the breach, such as the cost of freezing or unfreezing a
            credit file; buying credit monitoring services; out of pocket losses
            from identity theft or fraud, including professional fees and other
            remedial expenses; and 25 percent of any money paid to Equifax for


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             credit monitoring or identity theft protection subscription products in
             the year before the breach.

           Four years of three-bureau credit monitoring and identity protection
            services through Experian ($1,200 value) and an additional six years
            of one-bureau credit monitoring through Equifax (valued at $720).

           Alternative compensation of $125 for class members who already
            have credit monitoring or protection services in place.

           Identity restoration services through Experian to help class members
            victimized by identity theft for seven years, including access to a U.S.
            based call center, assignment of a certified identity theft restoration
            specialist, and step by step assistance in dealing with credit bureaus,
            companies and government agencies.

(Ex. 3, ¶ 38) Class members will have six months to claim benefits, but need not

file a claim to access identity restoration services. If money remains in the fund,

there will be a four-year Extended Claims Period during which class members may

recover for Out-Of-Pocket losses and time spent rectifying identity theft that

occurs after the end of the Initial Claims Period. Any money that is not claimed in

the Extended Claims Period will first be used to purchase up to three years of

additional identity restoration services (for a total of ten years) and then to extend

the length of credit monitoring for those who signed up for it. (Id., ¶ 43)

             3.    Proposed Injunctive Relief

      Equifax has agreed to entry of a consent order requiring the company to

spend a minimum of $1 billion for cybersecurity over five years and to comply


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with comprehensive data security requirements Plaintiffs negotiated with the

assistance of Mary Frantz, a renowned expert.        Equifax’s compliance will be

audited by independent experts and subject to this Court’s enforcement powers.

(Ex. 3, ¶ 44) This relief is substantial and significant. According to Ms. Frantz:

      [I]mplementation of the proposed business practice changes should
      substantially reduce the likelihood that Equifax will suffer another
      data breach in the future. These changes address serious deficiencies
      in Equifax’s information security environment. Had they been in place
      on or before 2017 per industry standards, it is unlikely the Equifax
      data breach would ever have been successful. These measures provide
      a substantial benefit to the Class Members that far exceeds what has
      been achieved in any similar settlements.

(Ex. 6, ¶ 66) Ms. Frantz describes the specifics in her declaration. (Id.)

             4.    Proposed Notice and Claims Program

      A key feature of the settlement is a first-of-its-kind Notice Program (Ex. 6 to

the Settlement Agreement) that uses modern testing, targeting, and messaging

techniques to more effectively engage the class and increase participation. The

program, developed by Class Counsel and Signal with input from JND and

regulators, consists of: (1) four emails sent to those whose class members’ email

addresses can be found with reasonable effort, which is expected to exceed 75

percent of the class; (2) an aggressive digital and social media campaign designed

to reach 90 percent of the class an average of eight times before the Notice Date

and six more times by the end of the Initial Claims Period; (3) radio advertising

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and a full-page ad in USA Today to reach those who have limited online presence;

and (4) continued digital advertising for seven years during the Extended Claims

Period and until identity restoration services are no longer available. (Ex. 3, ¶ 46)

      The proposed emails and ads (attached as exhibits to the Notice Plan) will be

tested for effectiveness by using focus groups, conducting a national survey of

1,600 likely class members, and sampling their impact on small subsets of the

class. And, the ads will be targeted based on testing results, demographics, and

other data. (Ex. 4, ¶¶ 23-28) Once the full-scale digital campaign is launched,

Signal will use available empirical data to continuously adjust the ads and where

the ads are placed to maximize their impact and drive claims. (Id., ¶ 5) If the

empirical data shows additional measures are needed, the notice program will be

supplemented with the Court’s approval. (Id., ¶ 44)

      The claims process similarly draws upon the most up-to-date techniques to

facilitate participation, incorporating input from regulators, including a link to a

settlement website (which has been optimized for use on mobile devices as well as

personal computers) in all emails and digital advertising; the ability to file claims

and check on the status of those claims electronically; and a call-center with a chat

feature to assist class members. (Id., ¶ 31, 35; Ex. 5, ¶¶ 29, 31) JND, the proposed

Settlement Administrator, is a widely-regarded expert with the experience to


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handle a case of this magnitude. (Id., ¶¶ 6-10; Ex. 3, ¶ 48)

             5.    Attorneys’ Fees and Expenses and Service Awards

      Class Counsel may request a fee of up to $77.5 million, which represents 25

percent of the original settlement fund as specified in the Term Sheet, without

consideration of the additional relief obtained by regulators, and reimbursement of

up to $3 million in litigation expenses. Services awards totaling no more than

$250,000 also may be requested. Equifax does not oppose these requests. Class

Counsel will move for fees, expenses and service awards at least 21 days before

the Objection Date. (Id., ¶ 49)

             6.    Releases

      The class will release Equifax from claims that were or could have been

asserted in this case and in turn Equifax will release the class from certain claims.

The releases are detailed in the settlement agreement. (Ex. 1 at 20-22)

                                   ARGUMENT

I.    The Court Should Direct Notice to the Class

      Approval of a proposed settlement is a two-step process. First, the court

decides whether the proposed settlement is “within the range of possible approval,”

Fresco v. Auto Data Direct, Inc., 2007 WL 2330895, at *4 (S.D. Fla. May 11,

2007), to decide “whether to direct notice … to the class, invite the class’s



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reaction, and schedule a final fairness hearing.” 4 Newberg on Class Actions §

13:10 (5th ed. 2015). Second, at the final approval hearing, the court decides if the

settlement is fair, reasonable, and adequate. Id.

      A court has broad discretion over this process. See, e.g., In re Motorsports

Merchandise Antitrust Litig., 112 F. Supp. 2d 1329, 1333 (N.D. Ga. 2000). In

exercising this discretion, some courts in the Eleventh Circuit have authorized

notice “where the proposed settlement is the result of the parties’ good faith

negotiations, there are no obvious deficiencies and the settlement falls within the

range of reason.” See In re Checking Account Overdraft Litig., 275 F.R.D. 654, 61

(S.D. Fla. 2011).    Other courts have considered the so-called Bennett factors

customarily used at the final approval stage.1 See, e.g., Columbus Drywall &

Insulation, Inc. v. Masco Corp., 258 F.R.D. 545, 558-59 (N.D. Ga. 2007).

      The December, 2018 amendments to Rule 23 provide explicit new

instructions, requiring notice be issued if the court is “more likely than not” to

finally approve the settlement and certify a settlement class. Rule 23(e)(1)(B).

The amendments specify that before finally approving a settlement, a court should


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  The Bennett factors include: (1) the likelihood of success at trial; (2) the range of
possible recovery; (3) the range of possible recovery at which a settlement is fair,
adequate, and reasonable; (4) the anticipated complexity, expense, and duration of
litigation; (5) the opposition to the settlement; and (6) the stage of proceedings at
which the settlement was achieved.

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consider whether (1) the class was adequately represented; (2) the settlement was

negotiated at arm’s length; (3) the relief is adequate, taking into account the costs,

risks, and delay of trial and appeal, how the relief will be distributed, the terms

governing attorneys’ fees; and any side agreements; and (4) whether class

members are treated equitably relative to each other. Id.

      Since the 2018 amendments, the few courts in this Circuit that have

addressed the issue consider both new Rule 23(e) and the Bennett factors. See

Grant v. Ocwen Loan Servicing, LLC, 2019 WL 367648, at *5 (M.D. Fla. Jan. 30,

2019); Gumm v. Ford, 2019 WL 479506, at *4 (M.D. Ga. Jan. 17, 2019). In this

brief, Plaintiffs will analyze the new Rule 23(e)(2) factors and rely on case law

interpreting the Bennett factors, which are substantially similar. Regardless of

what factors are used, notice of this settlement is appropriate.

      A.     The Class Was Adequately Represented

      Adequacy of representation is an issue traditionally considered in connection

with class certification and involves two questions: “(1) whether the class

representatives have interests antagonistic to the interests of other class members;

and (2) whether the proposed class’ counsel has the necessary qualifications and

experience to lead the litigation.” Columbus Drywall & Insulation, Inc., 258

F.R.D. at 555. Here, the class representatives have the same interests as other class


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members as they are asserting the same claims and share the same injuries.

Further, the Court has already recognized Class Counsel’s experience and

qualifications in appointing them to lead the consumer track, and the record shows

Class Counsel worked diligently to bring this case to resolution. (Ex. 3, ¶ 61)

      B.     The Proposed Settlement Was Negotiated at Arm’s Length

      The Court can safely conclude this settlement was negotiated at arm’s

length, without collusion, based on the terms of the settlement itself; the length and

difficulty of the negotiations; Judge Phillips’ oversight, his description of what

happened and the fact that the final fund amount resulted from a mediator’s

proposal; and the regulators’ review and involvement. See generally Ingram v.

The Coca-Cola Co., 200 F.R.D. 685, 693 (N.D. Ga. 2001) (“The fact that the entire

mediation was conducted under the auspices of . . . a highly experienced mediator,

lends further support to the absence of collusion.”).

      C.     The Relief Is Fair, Reasonable, and Adequate

      The Settlement is the largest and most comprehensive recovery in a data

breach case by several orders of magnitude. (Ex. 3, ¶ 52) Not only does the size of

the fund dwarf all previous data breach settlements, the specific benefits compare

favorably to what has been previously obtained, including:

            A sizeable, $20,000 cap on out of pocket losses.


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           Compensation for up to 20 hours of lost time at $25 per hour.

           Four years of three-bureau credit monitoring that would cost
            each class member $1,200.

           An additional six years of one-bureau monitoring that would
            cost each class member $720.

           $125 in alternative compensation to those who already have
            monitoring.

           Reimbursement of 25 percent of the price paid by class
            members who bought identity protection services from Equifax
            in the year before the breach (notwithstanding that their claims
            were dismissed by this Court).

           Access to seven years of assisted identity restoration services.

(Ex. 3, ¶¶ 38, 52) The Settlement also provides extraordinary injunctive relief, far

beyond that obtained in any other similar case. (Id., ¶52, Ex. 6, ¶ 66)

      Class Counsel, a group with extraordinary experience in leading major data

breach class actions, strongly believe that the relief is fair, reasonable, and

adequate. (Ex. 3, ¶¶ 7-8, 60) The Court may rely upon such experienced counsel’s

judgment. See, e.g., Nelson v. Mead Johnson & Johnson Co., 484 F. App’x 429,

434 (11th Cir. 2012) (“Absent fraud, collusion, or the like, the district court should

be hesitant to substitute its own judgment for that of counsel.”) The Court should

also consider Judge Phillips’ view after overseeing the negotiations:



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      Based on my experience as a litigator, a former U.S. District Judge
      and a mediator, I believe that this settlement represents a reasonable
      and fair outcome given the parties’ strongly held positions throughout
      the 16 months of negotiations. As such, I strongly support the
      approval of the settlement in all respects.

(Ex. 8, ¶ 13).

      That the relief is fair, reasonable, and adequate is further confirmed by

considering the four specific factors enumerated in new Rule 23(e)(2).

             (1)    The Risks, Costs, and Delay of Continued Litigation

      The cost and delay of continued litigation are obviously substantial. This is

one of the most complex and involved civil actions pending in the federal courts.

But for the Settlement, the parties will incur tens of millions of dollars in legal fees

and expenses in discovery and motions practice. Trial likely will not occur until at

least 2021 and appeals would delay a final resolution for another year.

      The risks are also substantial. If the Settlement is not approved, Equifax will

surely renew its arguments under Georgia law that there is no legal duty to

safeguard personal information after the recent decision in Georgia Dep't of Labor

v. McConnell, 828 S.E.2d 352, 358 (Ga. 2019), which held under different facts

that no such duty exists, and that Plaintiffs have not alleged any compensable

injuries. See Collins v. Athens Orthopedic Clinic, 347 Ga. App. 13, 16 (2018), cert.

granted (Apr. 29, 2019) (presenting the issue of whether a data breach victim may


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recover damages without proof of actual identity theft). Even if Plaintiffs prevail

on those legal issues, they face the risk that causation cannot be proved, discovery

will not support their factual allegations, a jury might find for Equifax, and an

appellate court might reverse a Plaintiffs’ judgment.

             (2)   The Method of Distributing Relief is Effective

      The distribution process, developed with regulators’ help, will be efficient

and effective. Class members can easily file claims, but a claim is not needed for

identity restoration services. Documentation requirements are not onerous, and not

even required for many benefits. Class members can file claims in the Extended

Claims Period to recover for losses that have not yet occurred; and, there is a

friendly appeal process if a claim is denied. (Ex. 3, ¶¶ 39-40)

             (3)   The Terms Relating to Attorneys’ Fees are Reasonable

      Class Counsel will request 25 percent of the $310 million settlement fund

they negotiated in the Term Sheet. This request is consistent with Camden I

Condominium Ass’n, Inc. v. Dunkle, 946 F.2d 768 (11th Cir. 1991), which

mandates use of the percentage method and noted 25 percent was then viewed as

the “bench mark.” Following Camden I, fee awards in this Circuit average around

one-third. See Wolff v. Cash 4 Titles, 2012 WL 5290155 at *5-6 (S.D. Fla. Sept.

26, 2012) (“The average percentage award in the Eleventh Circuit mirrors that of


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awards nationwide—roughly one-third”); George v. Acad. Mortg. Corp. (UT),

2019 WL 1324023, at *17 (N.D. Ga. Mar. 20, 2019); Eisenberg, Attorneys’ Fees in

Class Actions: 2009-2013, 92 N.Y.U. LAW REV. 937, 951 (2017) (empirical study

showing the median award in 11th Circuit is 33 percent). The fee is also supported

by the value of the significant injunctive relief Class Counsel negotiated, as well as

the tremendous value conferred on the class. See, e.g., Camden I¸ 946 F.2d at 774.

             (4)   Agreements Required to be Identified By Rule 23(e)(3)

       The parties are submitting to the Court in camera the specific terms of the

provisions allowing termination of the settlement if more than a certain number of

class members opt out and a cap on notice spending is exceeded. Also, vendors

providing services are subject to contracts relating to their obligations under the

settlement. These provisions do not affect the adequacy of the relief.

       D.    Class Members are Treated Equitably Relative to Each Other

       The proposed class members treat all class members equally. Each class

member is eligible to receive the same benefits as other class members and no

class members are favored over others. (Ex. 3, ¶ 59)

II.    The Court Should Certify the Proposed Settlement Class

       To issue notice under Rule 23(e), the Court should decide the proposed

settlement class likely will be certified. Such a decision should not be difficult.


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Settlement classes are routinely certified in consumer data breach cases, as this

Court did in approving settlement in Home Depot. See, e.g., In re Home Depot,

Inc. Customer Data Sec. Breach Litig., 2016 WL 6902351 (N.D. Ga. Aug. 23,

2016); In re Anthem, Inc. Data Breach Litig., 327 F.R.D. 299 (N.D. Ga. 2018); In

re Heartland Payment Systems, Inc. Customer Data Sec. Breach Litig., 851

F.Supp.2d 1040 (S.D. Tex. 2012). There is nothing different about this case, which

is demonstrated by examining the requirements of Rule 23(a) and (b).

      A.    The Rule 23(a) Requirements Are Satisfied

      Numerosity: The proposed class consists of more than 147 million U.S.

Consumers, indisputably rendering individually joinder impracticable.

      Commonality: “Commonality requires the plaintiff to demonstrate that the

class members have suffered the same injury, such that all their claims can

productively be litigated at once.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338,

349-350 (2011) (internal citations omitted). All class members suffered the same

injury – exposure of their personal data in the Equifax breach – and are asserting

the same legal claims.   Accordingly, common questions of law and fact abound.

See, e.g., Home Depot, 2016 WL 6902351, at *2; Anthem, 327 F.R.D. at 309.

      Typicality: This requirement is readily satisfied in data breach cases. The

class representatives’ claims are typical of other class members because they arise


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from the same data breach and involve the same legal theories. See, e.g., Id.;

Home Depot, 2016 WL 6902351, at *2.

      Adequacy of Representation: Plaintiffs do not have any interests

antagonistic to other class members and have retained lawyers who are abundantly

qualified and experienced, satisfying the adequacy requirement. (Ex. 3, ¶ 59)

      B.     The Requirements of Rule 23(b)(3) Are Satisfied

      Rule 23(b)(3) requires that “questions of law or fact common to class

members predominate over any questions affecting only individual members,” and

that class treatment is “superior to other available methods for fairly and efficiently

adjudicating the controversy.” One part of the superiority analysis – manageability

– is irrelevant for purposes of certifying a settlement class. Amchem Prods., Inc. v.

Windsor, 521 U.S. 591, 620 (1997).

      Predominance: The predominance requirement “tests whether proposed

classes are sufficiently cohesive to warrant adjudication by representation.” (Id. at

623) “Common issues of fact and law predominate if they have a direct impact on

every class member’s effort to establish liability and on every class member’s

entitlement to … relief.” Carriuolo v. GM Co., 823 F.3d 977, 985 (11th Cir. 2016).

Here, as in other data breach cases, common questions predominate because all

claims arise out of a common course of conduct by Equifax and the only


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significant individual issues involve damages, which rarely present predominance

problems. See, e.g., Home Depot, 2016 WL 6902351 at *2; Anthem, 327 F.R.D. at

311-16; Brown v. Electrolux Home Products, Inc., 817 F.3d 1225, 1239 (11th Cir.

2016) (individualized damage generally do not defeat predominance).

        Superiority: “The inquiry into whether the class action is the superior

method for a particular case focuses on increased efficiency.” Agan v. Katzman &

Korr, P.A., 222 F.R.D. 692, 700 (S.D. Fla. 2004). Litigating the same claims of

147 million American through individual litigation would obviously be inefficient.

The superiority requirement thus is satisfied. See Anthem, 327 F.R.D. at 315-16;

Home Depot, 2016 WL 6902351, at *3.

III.    The Notice Plan and Administrator Should be Approved

        The Settlement is historic, not only because of the relief provided, but

because of its unprecedented notice program. Traditionally, notice often consisted

of a single letter, which class members frequently discarded unopened as junk

mail, and newspaper advertising, which many class members never saw. In recent

years, the rules have been broadened to permit electronic and digital notice

programs, but their results commonly fall short. The notice program here seeks to

improve on these past results by trying something different. (Ex. 4, ¶ 11)

        The notice program is outlined above and explained in detail by Jim


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Messina, Signal’s co-founder. (Id., ¶¶ 18-44) The underlying premise is that class

members will be more aware of the settlement and their participation rates will

increase if modern advertising techniques are properly used to select the most

effective messaging and communication outlets. That using these techniques can

do better than traditional notice efforts was shown in Pollard v. Remington Arms

Company, 320 F.R.D. 198, 212 (W.D. Mo. 2017), a case in which Signal was

retained to do supplemental notice after the court refused to approve a settlement

because three months of direct mail, magazine publication, and social media

advertising had resulted in a low claims rate. (Ex. 4, ¶ 16-18). The success of

Signal’s supplemental notice program is illustrated by this chart:




Citing Signal’s efforts, the court ultimately approved the settlement. (Id., ¶ 17)

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      Under Signal’s plan in this case, by the Notice Date – set 60 days before the

objection and opt out deadlines to give class members ample time to consider their

options – almost all class members will be exposed to what is expected to be

massive coverage of the settlement in television, digital, and print media; more

than 75 percent of the class will receive at least one email containing all the

information required by Rule 23; at least 90 percent will be reached on average

eight times by digital advertisements; and class members less likely to use email or

the internet will be reached by radio and newspaper advertising. (Id., ¶¶ 28, 37, 39)

All notices will be pre-tested and targeted, their effectiveness monitored on an

ongoing basis, and the campaign adjusted to maximize reach and response. (Id., ¶

26) Further, notice will continue for seven years to remind class members of the

available benefits, alert them to deadlines, and encourage claims. (Id., ¶¶ 41-42)

      Rule 23 requires the Court direct to class members “the best notice that is

practicable under the circumstances” and specifies certain information that must be

included in plain, easily understood language. Rule 23(c)(1)(B). The Due Process

Clause also requires that class members be apprised of the action and afforded an

opportunity to present objections. Phillips Petroleum Co. v. Shutts, 472 U.S. 797,

812 (1985). That the Notice Plan satisfies both of these requirements is confirmed

by Signal, (Ex. 4, ¶¶ 8-44), and JND, an experienced class action notice provider in


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its own right (Ex. 5, ¶ 9, 13), and supported by regulators’ involvement.

      The Court thus should approve the plan.          See, e.g., Rule 23(c)(1)(B)

(authorizing notice by electronic or other appropriate means); Home Depot, 2016

WL 6902351, at *5 (notice reaching 75 percent of the class through email and

internet advertising satisfied Rule 23 and due process); Morgan v. Public Storage,

301 F.Supp.3d 1237, 1261-66 (S.D. Fla. 2016) (notice primarily by email and

newspaper advertising); In re Pool Products Distribution Market Antitrust Litig.,

310 F.R.D. 300, 317-8 (E.D. La. 2015) (email, digital ads, and print publication);

see generally Federal Judicial Center, “Judges’ Class Action Notice and Claims

Process Checklist and Plain Language Guide” (2010) (recognizing the

effectiveness of notice that reaches between 70 and 95 percent of the class); R.

Klonoff, Class Actions in the Year 2026: A Prognosis, 65 Emory L. J. 1569, 1650

& n. 479 (2016) (“Courts have increasingly utilized social media … to notify class

members of certification, settlement, or other developments”).

                                 CONCLUSION

      For the reasons set forth above, Plaintiffs request the Court enter the order

proposed by the parties directing the class be notified of the proposed settlement in

the manner set forth in the Notice Plan and schedule a final approval hearing.




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Dated: July 22, 2019              Respectfully submitted,


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                          CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing was filed with this Court via its

CM/ECF service, which will send notification of such filing to all counsel of

record this 22nd of July, 2019.

                                       /s/ Roy E. Barnes




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